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                          Exhibit 9


Def Con Website: 30 Years of Event Archives




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              Pick a DEF CON:                                                                DEF CON Sites
                                            DEF CON 31 was held August
                                            10-13, 2023 At Caesars
                                            Forum, Flamingo, LINQ and
                                                                              Forums         Groups   Media Server InfoCon.org
                                            Harrah's in Las Vegas.

                                            »Website                                          The Goods
                                            »Show Content



                                                                                 Oﬃcial Swag            Conference Recordings
                                            DEF CON 30 was held August
                                            11-14, 2022 At Caesars                            Past Media
                                            Forum, Flamingo, LINQ and
                                            Harrah's in Las Vegas.

                                            »Website
                                            »Show Content                    Torrents Page       DEF CON        InfoCon.org
                                                                                                Media Server



                                            DEF CON 29 was held August
                                            5-8, 2021 at Paris and Bally's
                                            hotels in las Vegas

                                            »Website
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                                            DEF CON China Party was
                                            held 20 March, 2021 on the
                                            DEF CONstruct (VR)

                                            »Website
                                            »Show Content




                                            DEF CON New Year's Eve was
                                            held December 31, 2020 -
                                            January 1, 2021 on Discord

                                            »Website
                                            »Show Content




                                            DEF CON 28 SAFE MODE was
                                            held August 6-9, 2020 on
                                            Discord and Twitch

                                            »Website
                                            »Show Content




                                            DEF CON 27 was held August
                                            8-11, 2019 at Paris, Bally's,
                                            Flamingo, & Planet Hollywood
                                            Hotels in Las Vegas

                                            »Website
                                            »Show Content




                                            DEF CON China 1.0 was held
                                            May 11-13, 2019 at 751 D
                                            Park Art District in Beijing,
                                            China

                                            »Website
                                            »Show Content




                                            DEF CON 26 was held August
                                            9-12, 2018 at Caesars Palace,
                                            Flamingo, & Linq in Las Vegas

                                            »Website
                                            »Show Content


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                                            DEF CON China [BETA] was
                                            held May 11-13, 2018 at
                                            Kuntai Hotel in Beijing, China

                                            »Website
                                            »Show Content




                                            DEF CON 25 was held July 27-
                                            30, 2017 at Caesars Palace in
                                            Las Vegas

                                            »Website
                                            »Show Content




                                            DEF CON 24 was held August
                                            4-7, 2016 at Bally's and Paris
                                            in Las Vegas

                                            »Website
                                            »Show Content




                                            DEF CON 23 was held August
                                            6-9, 2015 at Bally's and Paris
                                            in Las Vegas

                                            »Website
                                            »Show Content




                                            DEF CON 22 was held August
                                            4-7, 2014 at the Rio Hotel &
                                            Casino

                                            »Website
                                            »Show Content




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                                            DEF CON 21 was held August
                                            1-4, 2013 at the Rio Hotel &
                                            Casino

                                            »Website
                                            »Show Content


                                            DEF CON 20 was held July 26-
                                            29, 2012 at the Rio Hotel &
                                            Casino

                                            »Website
                                            »Show Content



                                            DEF CON 19 was held August
                                            4-7, 2011 at the Rio Hotel &
                                            Casino

                                            »Website
                                            »Show Content




                                            DEF CON 18 was held July 30
                                            - August 1, 2010 at the Riviera
                                            Hotel & Casino

                                            »Website
                                            »Show Content




                                            DEF CON 17 was held July 30
                                            - August 2, 2009 at the Riviera
                                            Hotel & Casino

                                            »Website
                                            »Show Content




                                            DEF CON 16 was held August
                                            8-10, 2008 at the Riviera Hotel
                                            & Casino

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                                            DEF CON 15 was held August
                                            3-5, 2007 at the Riviera Hotel
                                            & Casino

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                                            DEF CON 14 was held August
                                            4-6, 2006 at the Riviera Hotel
                                            & Casino

                                            »Website
                                            »Show Content




                                            DEF CON 13 was held July 29-
                                            31, 2005 at the Alexis Park
                                            Hotel & Resort

                                            »Website
                                            »Show Content




                                            DEF CON 12 was held July 30
                                            - August 1, 2004 at the Alexis
                                            Park Hotel & Resort

                                            »Website
                                            »Show Content




                                            DEF CON 11 was held August
                                            1-3, 2003 at the Alexis Park
                                            Hotel & Resort

                                            »Website
                                            »Show Content




                                            DEF CON 10 was held August
                                            2-4, 2002 at the Alexis Park
                                            Hotel & Resort

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                                            DEF CON 9 was held July 13-
                                            15, 2001 at the Alexis Park
                                            Hotel & Resort

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                                            DEF CON 8 was held July 28-
                                            30, 2000 at the Alexis Park
                                            Hotel & Resort

                                            »Website
                                            »Show Content




                                            DEF CON 7 was held July 9-
                                            11, 1999 at the Alexis Park
                                            Hotel & Resort

                                            »Website
                                            »Show Content




                                            DEF CON 6 was held July 31-
                                            August 2, 1998 at the Plaza
                                            Hotel & Casino

                                            »Website
                                            »Show Content




                                            DEF CON 5 was held July 11-
                                            13, 1997 at the Aladdin Hotel &
                                            Casino (Since Blown-up!)

                                            »Website
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                                            DEF CON 4 was held July 26-
                                            28, 1996 at the Monte Carlo
                                            Hotel & Casino (Still there!)

                                            »Website
                                            »Show Content


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                                            DEF CON 3 was held August
                                            4-6, 1995 at the Tropicana &
                                            Casino (Still there!)

                                            »Website
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                                            DEF CON 2 was held July 22-
                                            24, 1994 at the Sahara Hotel &
                                            Casino (Since Blown-up)

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                                            DEF CON 1 was held June 9-
                                            11, 1993 at the Sands Hotel &
                                            Casino (Since Blown-up)

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                                              was August 10-13, 2023 At                                          The Goods
                                              Caesars Forum, Flamingo, LINQ
                                              and Harrah's in Las Vegas.
                                                                                                    Oﬃcial Swag            Conference Recordings

                                                                                                                 Past Media
                Talks & Materials
                                                                                                Torrents Page       DEF CON        InfoCon.org
                Presentation Slides and Extras                                                                     Media Server
                Check out all the original and updated presentation slides, white papers, and
                accompanying files we received!
                DEF CON 31 Presentations (RAR)


                Presentation Audio and Video
                All DEF CON 31 Video on our Youtube Channel

                Talks - Speaker and Slides (video)
                Villages - Speaker and Slides (video)



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                Highlights
                DEF CON 31 Badge Files
                All the files relating to the DEF CON 31 Badge


                DEF CON 31 Music
                DEF CON 31 Original Soundtrack (flac) (opus)




                DEF CON 31 Program
                Conference Printed Program from DEF CON 31


                DEF CON 31 Photos and Video
                Tons of Photos from our Photo Corps and several other sources:
                DEF CON 31 Photos (RAR)
                Videos by DEF CON Video team (RAR)
                Huge hi-res stich of the entire DEF CON 31 Sticker wall Scavenger Hunt
                Highlight reel


                DEF CON 31 CTF
                All Files, including Packet dumps and binaries from the Capture the Flag
                competiton at DEF CON 31:
                DEF CON 31 CTF


                DEF CON 31 Receipt
                Need to expense that trip to DEF CON 31? Here is a handy receipt for just
                such endeavors!
                DEF CON 31 Receipt - Cash


                Contest & Events Results
                May be found on the DEF CON 31 Contest & Events Results page

                Short Story Contest Entries

                Phish Stories Contest Entries


                DEF CON 31 Website
                DEF CON 31 Site



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